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6                                             UNITED STATES DISTRICT COURT

7                                        NORTHERN DISTRICT OF CALIFORNIA
8
                                                   SAN FRANCISCO DIVISION
9

10

11   HILJA KEADING/KEADING FAMILY                               Case No.: 3:23-cv-03036-LB
12   TRUST,

13                    Plaintiff,

14   vs.
15
     KENTON KEADING,
                                                                DEFENDANT(S)’ RESPONSE TO ORDER
16                                                              TO SHOW CAUSE
                      Defendant
17

18

19
                                                    INTRODUCTION

20           This case originated in the California State Superior Court, County of Contra Costa, as an

21   ex-parte petition to the probate court, claiming that Defendant, Kenton Keading, had wrongfully
22
     taken Keading Family Trust (“Trust”) property and that Plaintiff sought relief pursuant to
23
     California Probate Code Section 850 1 for the return of property and also sought an additional
24

25
     damages award pursuant to P.C. Section 859, when such taking of property is accompanied by

26

27

28   1
      Hereinafter the California Probate Code Sections will be referenced as follows “P.C. Section”.
     DEFENDANT(S)’ RESPONSE TO ORDER TO SHOW CAUSE - 1
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1    “bad faith” (Dkt#1 Notice of Removal, at Exhibit E of A). A trial ensued pursuant to P.C.
2
     Section 859, finding that Defendant had wrongfully taken property through undue influence
3
     amounting to financial elder abuse and despite no finding of bad faith, the trial court nonetheless
4
     imposed a “double damages” award in excess of 1.5 million dollars, payable to the Trust (Dkt#1
5

6    Notice of Removal at Exhibit A of A). Defendant filed a Motion to Vacate Judgement After

7    Trial pursuant to California Code of Civil Procedure (CCP) Section 473(d) on March 28, 2023
8
     (Dkt#1, Notice of Removal at Exhibit A). Defendant opposed that motion on June 8, 2023.
9
     Earth Island Institute (EII) joined in Defendant’s Motion to Vacate Judgment After Trial on June
10
     20, 2023 (Dkt#1 at Exhibit A; Dkt#17 Notice of Inadvertently Omitted Exhibits from Exh.A to
11

12   Notice of Removal attaching EII Notice of and Joinder in Def. Keading’s Motion to Vacate

13   Judgment), claiming that EII is the owner of that real property commonly described as 21 Laurel
14
     Lane, El Sobrante, California, which property Defendants claim the trial court wrongfully
15
     ordered the trustee of the Trust to take possession of that property. EII then consented to the
16
     removal of this case on June 19, 2023 (Dkt#1 Attachment to Notice of Removal) - Notice of
17

18   Removal was filed with this Court on June 21, 2023 (Dkt#1). Magistrate Judge, Laurel Beeler,

19   issued an Order To Show Cause (OSC) on July 6, 2023 (Dkt#12), which is the subject of this
20
     brief.
21
                                              LEGAL ARGUMENT
22
        I. Summary Of Legal Issues
23

24            This court has set forth a number of jurisdictional concerns, as set forth in its OSC,

25   summarized as follows:
26
     1) there is “no federal-question jurisdiction because no federal question is presented on the face
27
     of the state-court petition.” (Dkt# 12, p. 5);
28
     DEFENDANT(S)’ RESPONSE TO ORDER TO SHOW CAUSE - 2
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1    2) the “probate exception to federal jurisdiction reserves probate matters to state probate courts
2
     and precludes federal courts from disposing of property in the custody of a state court.” (Dkt#12,
3
     p. 4); and
4
     3) “the application of the Rooker-Feldman doctrine. Under 28 U.S.C. § 1257, only the United
5

6    States Supreme Court has appellate jurisdiction over state-court judgments.” (Dkt#12, p.5).

7    II. A Case May Be Removed Even When There Is No Federal Question Stated On The
     Face Of The Original Complaint
8

9       Pursuant to 28 U.S.C §1446 (b)(3), Defendant may remove a case even when the initial

10   pleading is not removable,
11
            Except as provided in subsection (c), if the case stated by the initial pleading is not
12          removable, a notice of removal may be filed within thirty days after receipt by the
            defendant, through service or otherwise, of a copy of an amended pleading, motion,
13          order or other paper from which it may first be ascertained that the case is one which
            is or has become removable. (28 U.S.C. § 1446 (b)(3)).
14

15   Defendant received from Plaintiff an Opposition To Motion To Vacate on June 8, 2023, which

16   constituted a paper from which it may be ascertained that the case is removable (Roth v. CHA
17
     Hollywood Medical Center, 720 F.3d 1121 (2013)).
18
     III. The Probate Exception Does Not Apply
19
         The court in Goncalves holds that “while the probate exception to federal jurisdiction
20

21   reserves probate matters to state probate courts and precludes federal courts from disposing of

22   property in the custody of a state court, Marshall v. Marshall, 547 U.S. 293, 311, 126 S.Ct. 1735,
23
     164 L.Ed. 2d 480 (2006) it does not bar "federal courts from adjudicating matters outside those
24
     confines and otherwise within federal jurisdiction." Id. at 311-12, 126 S.Ct. 1735. Federal courts
25
     have jurisdiction to entertain suits to determine the "rights of creditors, legatees, heirs, and other
26

27   claimants against a decedent's estate, `so long as the federal court does not interfere with the

28
     DEFENDANT(S)’ RESPONSE TO ORDER TO SHOW CAUSE - 3
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1    probate proceedings.'" Id. at 311, 126 S. Ct. 1735.” Goncalves concludes,
2
            several courts of appeals have come to a simple conclusion, with which we agree,
3           about the scope of the probate exception: ‘It is clear after Marshall that unless a
            federal court is endeavoring to (1) probate or annul a will, (2) administer a
4           decedent's estate, or (3) assume in rem jurisdiction over property that is in the
            custody of the probate court, the probate exception does not apply.’ [Citations].
5
            Following Marshall we must now hold that so long as a plaintiff is not seeking to
6           have the federal court administer a probate matter or exercise control over a res in
            the custody of a state court, if jurisdiction otherwise lies, then the federal court may,
7           indeed must, exercise it. (Goncalves v. Rady Childrens Hospital San Diego, 865
            F.3d 1237 (2017)) (emphasis added).
8

9         In the instant case, Defendant’s federal claims of Constitutional violations of Due Process,

10   resulted in excess of jurisdiction, lack of subject matter and personal jurisdiction. Most notably
11
     EII was never given notice of a hearing which affected their property rights as required by both
12
     statute (P.C. § 851) and Due Process, resulting in what Defendants contend constituted an
13
     egregious deprivation of Defendants’ constitutional rights by order of the probate court for the
14

15   trustee to take possession of property belonging to EII, a ‘stranger to the action’ and over which.

16   property it had no subject matter jurisdiction. That order also used the value of EII’s property to
17
     include in the computation against Defendant Keading in computing the “double the value of
18
     property found wrongfully taken” punitive measure of damages under P.C. 859 assessed
19
     Keading and awarded Plaintiffs. As an injured, third party “stranger to the action” filed by
20

21   Plaintiffs, EII has joined Defendant, Kenton Keading, in seeking to have the probate court’s

22   judgment declared void. (Dkt#1 at Exhibit A; Dkt#17 Notice of Inadvertently Omitted Exhibits
23
     from Exh.A to Notice of Removal attaching EII Notice of and Joinder in Def. Keading’s Motion
24
     to Vacate Judgment), Probate court had no subject matter jurisdiction over property, in no way
25
     connected to the Trust, and in violating procedural Due Process violated the mandatory
26

27

28
     DEFENDANT(S)’ RESPONSE TO ORDER TO SHOW CAUSE - 4
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1    prerequisite hearing as to adjudication of property ownership pursuant to P.C. § 8502.
2
     Thus, Defendant, Kenton Keading had imposed upon him a statutory penalty “pursuant” to P.C.
3
     Code § 859 computed on value of property over which the Court had no subject matter
4
     Jurisdiction, while skipping the step – first under P.C. § 850 determining if the property allegedly
5

6    taken by Defendant was property of the trust or the elder - that the Probate Code §§850-859

7    statutory scheme required (Dkt#7 Keading Reply Brief at p.9 citing Estate of Ashlock 45
8
     Cal.App.5th, 1066 at 1073) before any determination of liability or damages can be made in any
9
     P.C. § 859 proceeding, thus Defendants contend depriving Defendants of Procedural Due
10
     Process as well.
11

12        This court is not being asked to probate or annul a will, administer a decedent’s estate, nor

13   assume in rem jurisdiction over property that is in the custody of probate court, so the probate
14
     exception does not apply. Here, Defendant(s) are asking this court to examine federal issues as
15
     cited above, in order to vacate a judgment as being void where that motion to do so was before
16
     the State Superior Court, and now requested to be removed to this court. Federal Courts may
17

18   give relief pursuant to Federal Rules of Civil Procedure, F.R.C.P Rule 60, where there exist

19   grounds for relief from a final judgment making it void, F.R.C.P., Rule 60 (b)(4).
20

21
     IV. The Rooker-Feldman Doctrine Does Not Require Remand Of This Case
22
         In a detailed review and discussion of the Rooker-Feldman doctrine, the U.S. Supreme Court
23

24   in Exxon Mobil Corporation, holds “Rooker-Feldman bars a losing party in state court "from

25   seeking what in substance would be appellate review of the state judgment in a United States
26

27

28   2
      While Plaintiffs’ Petition pled P.C.
     DEFENDANT(S)’ RESPONSE TO ORDER TO SHOW CAUSE - 5
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1
     district court, based on the losing party's claim that the state judgment itself violates the loser's
2

3    federal rights," but the doctrine has no application to a federal suit brought by a non-party

4    to the state suit, citing cases (Exxon Mobil Corporation v. Saudi Basic Industries Corp., 544
5
     U.S. 280, at 287-288 (2005).
6
           Here, EII has joined Defendant to remove a civil action to federal court where EII was a non-
7
     party to the state suit when proceedings were conducted as to its property at 21 Laurel Lane in El
8

9    Sobrante, CA and Defendant Keading was assessed a double penalty counting the value of the

10   EII property as part of the double penalty assessed against him. As a non-party, EII can not be
11
     considered a losing party in the state court’s trial judgment and the Rooker-Feldman doctrine
12
     does not apply. It was not a “losing party” in a trial Court proceeding now looking for the
13
     District Court to, in effect, exercise Appellate jurisdiction. Here also, however, the Due process
14

15   violations regarding EII are intertwined with the damages assessed against Defendant Keading in

16   penalties under the judgment sought to be vacated. There are obvious issues implicating
17
     constitutional subject matter jurisdiction, namely 21 Laurel Lane, a property over which the
18
     Court lacked jurisdiction. The probate court had no jurisdiction either over EII or it’s property,
19
     and should not have considered it in determining any liability of Defendant for the purported
20

21   wrongful taking of it.
                                     CONCLUSION
22
           For the foregoing reasons, this court should not remand this case to the California State
23

24   Superior Court. Acknowledging, however, this court’s concern not to interfere with probate

25   proceedings, in its discretion it certainly could make a partial remand leaving to the state Probate
26
     Court actions re: Trust internal affairs and administration while this Court continues the Federal
27
     ///
28
     DEFENDANT(S)’ RESPONSE TO ORDER TO SHOW CAUSE - 6
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1    questions for which the action was removed - the Motion To Vacate Judgment After Trial.
2

3    Dated: July 12, 2023        Respectfully submitted,

4                                /s/Anthony A. Ferrigno

5                                Attorney for Defendants Kenton Keading and Joined Defendant EII

6

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     DEFENDANT(S)’ RESPONSE TO ORDER TO SHOW CAUSE - 7
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1                               CERTIFICATE OF SERVICE

2             I hereby certify that on July 12, 2023, the foregoing “Defendant’s Response to OSC” was filed via this Court’s

3    electronic filing system and that copies of same were served upon all parties via e-service.

4

5

6

7                                                                    /s/Anthony A. Ferrigno

8                                                                    Attorney for Defendants

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     DEFENDANT(S)’ RESPONSE TO ORDER TO SHOW CAUSE - 8
